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               10
                                            UNITED STATES DISTRICT COURT
               11
                                       CENTRAL DISTRICT OF CALIFORNIA
               12
               13
                  RIOT GAMES, INC., a Delaware             CASE NO. 2:22-cv-00429
               14 corporation,
                                                           COMPLAINT FOR COPYRIGHT
               15              Plaintiff,                  INFRINGEMENT
               16        v.                                Demand For Jury Trial
               17 SUGA PTE, LTD., a company
                  incorporated under the laws of
               18 Singapore; IMBA TECHNOLOGY
                  COMPANY LIMITED, a division of
               19 SUGA PTE, LTD., a company
                  incorporated under the laws of
               20 Singapore; IMBA NETWORK LLC, a
                  Delaware limited liability company;
               21 DOES 1-10, inclusive,
               22              Defendants.
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                1                                  INTRODUCTION
                2         1.    Los Angeles-based Riot Games, Inc. (“Riot”) is among the world’s
                3 leading video game companies and the owner of the game titled “League of
                4 Legends” and its several spin-off titles (collectively, “LoL”). LoL titles include
                5 “Teamfight Tactics” (available in both the LoL PC game client or as a standalone
                6 mobile app) and “League of Legends: Wild Rift,” (a standalone mobile app). All
                7 LoL titles feature characters (or “champions”) from LoL. LoL is among the most
                8 popular games in the world, played by more than 100 million people each month.
                9 LoL also is a hugely popular spectator “esport,” with live and online events that
               10 attract enormous numbers of fans. LoL’s iconic and colorful “champions” are
               11 recognized throughout the world, and have been featured in television programs
               12 (such as Netflix’s “Arcane”), consumer products, clothing, action figures, comic
               13 books, and a variety of other goods.
               14         2.    Unfortunately, because LoL and its champions are so popular,
               15 developers of low-budget mobile games have sought to leverage that popularity
               16 and goodwill by featuring knock-off versions of LoL champions in their own
               17 games. Defendants Suga Pte, Ltd. Imba Technology Company, Limited; and Imba
               18 Network, LLC (collectively, “Imba”), are among the latest companies to do so.
               19         3.    In 2020, Imba, a small mobile developer based in Vietnam but with
               20 affiliates, offices or employees in California and Delaware, released via the Google
               21 Play and Apple App Stores its own LoL knock-off, titled “I Am Hero: AFK
               22 Tactical Teamfight” (“I Am Hero” or the “Infringing Game”). The Infringing
               23 Game, whose title itself is an obvious reference to Riot’s “Teamfight Tactics” and
               24 features a roster of “heroes” that Imba deliberately designed to be substantially and
               25 confusingly similar to LoL’s champions. Specifically, many (if not all) of the
               26 “heroes” featured in the Infringing Game are characters that bear significant
               27 similarities to LoL champions, including in their character designs, names,
  Mitchell     28 abilities, and background stories (i.e., “lore”). Indeed, in many instances, Imba
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               1 lifted whole paragraphs of textual material verbatim from LoL, such as the “story”
               2 of “Qqtrox” (a character from the Infringing Game), which was copied directly
               3 from the LoL character “Aatrox,” as illustrated below. LoL is on the left, and the
               4 Infringing Game is on the right:
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               12
                          4.     Imba not only is well aware that its game infringes Riot’s copyrights;
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                    that plainly was its intent. Imba’s company name is a nod to LoL jargon, and its
               14
                    employees are avid LoL players. The company even sponsors its own LoL
               15
                    tournaments. Moreover, in response to player comments noting the similarities
               16
                    between LoL and the Infringing Game, Imba stated merely “So what[.]” This
               17
                    response is not surprising. Since Imba’s business is dependent upon members of
               18
                    the public discovering (and then downloading and playing) the Infringing Game
               19
                    among the thousands of other mobile titles, Imba obviously hopes that its use of
               20
                    popular and familiar characters will help the Infringing Game stand out or make it
               21
                    immediately appealing to LoL players and fans.
               22
                          5.     Imba not only must cease its infringement, but also must account to
               23
                    Riot for the unjust profits it received from its use of Riot’s intellectual property.
               24
                    Accordingly, Riot requests that this Court order that the Infringing Game be
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                    removed from sale and award to Riot both monetary and injunctive relief.
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                1                                    THE PARTIES
                2         6.    Riot is a corporation duly organized and existing under the laws of the
                3 State of Delaware, with its principal place of business in Los Angeles, California.
                4 Riot is in the business of producing, developing, publishing, distributing, and
                5 marketing a catalog of high quality video game products, including the immensely
                6 popular game titled “League of Legends.”
                7         7.    Riot is informed and believes, and on that basis alleges, that
                8 Defendant Suga PTE, Ltd. (“Suga”) is a company incorporated under the laws of
                9 Singapore. Riot is informed and believes, and on that basis alleges, that among
               10 Suga’s divisions or subsidiaries is Imba Technology Company, Limited (“Imba”)
               11 (formerly known as Suga Studios). Imba is a mobile game development studio
               12 with its principal place of business at Ho Chi Min City, Vietnam, but with offices
               13 and/or employees in San Francisco, California and Dover, Delaware. Riot has not
               14 yet determined whether Imba is a subsidiary company of Suga (or simply a
               15 division of Suga), and will amend its Complaint once this has been determined.
               16         8.    Imba Network LLC (“Imba, LLC”) is a limited liability company
               17 registered, formed and currently existing in good standing under the laws of
               18 Delaware. Imba, LLC was formed on December 18, 2020. Riot is informed and
               19 believes, and on that basis alleges that the business address of Imba, LLC is 3500
               20 S. Dupont Hwy., Dover, DE, 19901, but that Imba, LLC sometimes lists their
               21 business address with a typo, i.e., 3000 S. Dupont Hwy. An individual named Do
               22 Tuan Minh serves as both “Head of Imba” and as a director and/or member of
               23 Imba, LLC. Imba, LLC is listed as the U.S. “seller” of the Infringing Game on
               24 Apple App Stores as well as a variety of other online app retailers. Riot has not yet
               25 determined whether Imba, LLC is a subsidiary or division of Imba and Suga,
               26 respectively, and will amend its Complaint once this has been determined.
               27         9.    The true names and capacities, whether individual, corporate,
  Mitchell     28 associate, or otherwise, of the defendants sued herein as Does 1-10 inclusive, are
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                1 unknown to Riot, which has therefore sued said defendants by such fictitious
                2 names. These defendants may include individuals whose real identities are not yet
                3 known to Riot, but who are acting in concert with one another, often in the guise of
                4 Internet aliases, in committing the unlawful acts alleged herein. Riot will seek
                5 leave to amend this complaint to state their true names and capacities once said
                6 defendants’ identities and capacities are ascertained. Riot is informed and
                7 believes, and on that basis alleges, that all defendants sued herein are liable to Riot
                8 as a result of their participation in all or some of the acts set forth in this complaint.
                9 (All of the aforementioned defendants collectively are referred to herein as
               10 “Defendants.”).
               11         10.    Riot is informed and believes, and on that basis alleges, that at all
               12 times mentioned in this complaint, each of the Defendants was the agent of each of
               13 the other Defendants and, in doing the things alleged in this complaint, was acting
               14 within the course and scope of such agency.
               15
               16                             JURISDICTION AND VENUE
               17         11.    This is a civil action seeking damages, injunctive relief, and other
               18 equitable relief under the Copyright Act, 17 U.S.C. § 101 et seq.
               19         12.    This Court has subject matter jurisdiction over Riot’s claim for
               20 copyright infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a). Additionally,
               21 this Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the
               22 amount in controversy exceeds the sum or value of $75,000, and the action is
               23 between a California citizen and citizens of a foreign jurisdiction.
               24         13.    This Court has personal jurisdiction over Defendants because they
               25 have purposefully directed their activities at the United States, and at California in
               26 particular and have purposefully availed themselves of the benefits of doing
               27 business in California. Riot is informed and believes, and on that basis alleges,
  Mitchell     28 that, without limitation:
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                1         (a)   Defendants distribute the Infringing Game in the United States and the
                2 State of California through the Google Play and Apple App Store, both operated
                3 from the State of California. Riot is informed and believes, and on that basis
                4 alleges, that Defendants necessarily uploaded the Infringing Game to servers
                5 located in the United States, and specifically requested that the Google Play and
                6 Apple App Stores distribute the Infringing Game worldwide, including in the
                7 United States;
                8         (b)   Defendants conduct extensive and ongoing business with customers in
                9 the United States and the State of California, including through in-game purchases
               10 made by customers in the United States and the State of California. Defendants
               11 promote and advertise those in-game purchases on the Google Play and Apple App
               12 Store in U.S. Dollars. Riot is informed and believes, and on that basis alleges, that
               13 such in-game purchases included charges in U.S. Dollars made to customers by
               14 California-based Apple, which then takes a 30% platform fee (and other assessed
               15 charges) in California before remitting any payment (also in U.S. Dollars) to
               16 Defendants;
               17         (c)   Riot is informed and believes, and on that basis alleges, that
               18 Defendants created and operate a U.S. affiliate, Imba, LLC, for the purpose of
               19 conducting the above-described U.S. sales and promotion of the Infringing Game.
               20 Imba, LLC is listed as the “seller” of the Infringing Game on its profile page on the
               21 Apple App Store as well as many other online, English-language and U.S.-facing
               22 app stores. Additionally, the Infringing Game’s profile page on Google Play lists
               23 Imba’s place of business as 3000 South Dupont Highway, City of Dover, County
               24 of Kent, Delaware 19901. Riot is informed and believes, and on that basis alleges,
               25 that the listed address includes a typographical error (i.e., 3000 vs. 3500).
               26         (d)   Riot is informed and believes, and on that basis alleges, that
               27 Defendants engage in development and maintenance activities with respect to the
  Mitchell     28 Infringing Game in the United States, and particularly in the State of California.
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                1 Riot is informed, and believes, that at least one of the Infringing Game’s
                2 developers carries out work on the Infringing Game from San Francisco,
                3 California, as an employee and/or agent of Imba.
                4         (d)   Defendants have directed their unlawful activities at Riot, including
                5 by deliberately copying and appropriating Riot’s copyrighted content. Defendants
                6 did so knowing and intending that Riot would be harmed by their conduct in the
                7 United States and primarily in the State of California, where Riot has its principal
                8 place of business;
                9         (e)   Defendants advertise and market the Infringing Game in the United
               10 States and the State of California, and communicate directly with users in the
               11 United States, including for the purposes of soliciting downloads of the Infringing
               12 Game by such users. For example, on the official “I am Hero” Facebook page,
               13 Defendants guide users to YouTube videos about the Infringing Game, including
               14 from influencers based in the U.S. and targeting a U.S. audience.1 Defendants
               15 likewise seek out and communicate directly with U.S. influencers to solicit
               16 feedback about the Infringing Game and create a promotional relationship.
               17         (f)   Defendants enter into contracts with numerous California and U.S.
               18 citizens, including each California or U.S. resident end-user that installs and plays
               19 the Infringing Game on his or her mobile device. In these contracts, Defendants
               20 include a governing law exception specifically to accommodate U.S. residents
               21 playing the Infringing Game. While all non-U.S. end-users’ contracts are
               22 governed by the laws of Vietnam, U.S. residents’ contracts are governed “in all
               23 respects by California law[,]” including to resolve any disputes.
               24         (g)   Defendants enter into contracts with, and utilize the services of,
               25 numerous U.S. companies, including domain name registrars, hosting providers,
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                    See e.g., https://www.facebook.com/PlayIAmHero/videos/3154059441369252/,
               28 directing
Silberberg &                 users to “Kodeations,” a U.S. based YouTube video creator.
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                1 and payment processors. They also enter into license agreements with U.S.-based
                2 software companies for the use of software or programming tools.
                3         14.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
                4 because this is a judicial district in which a substantial part of the events giving rise
                5 to the claims occurred, and/or in which Riot’s injury was suffered.
                6
                7                      FACTS APPLICABLE TO ALL CLAIMS
                8                             Riot and “League of Legends”
                9         15.    Riot is a video game developer and publisher based in Los Angeles,
               10 California. Riot is engaged in the business of producing, financing, developing,
               11 marketing, and distributing a catalog of video games and interactive entertainment
               12 products. Among Riot’s games is the immensely popular game “League of
               13 Legends” and its spin-offs, including “Teamfight Tactics” and “Wild Rift”
               14 (collectively, “LoL”). Riot, with its partners and affiliates, develops, publishes,
               15 markets, advertises, distributes, maintains, and services LoL in numerous countries
               16 throughout the world. Riot owns valid registered copyrights in LoL.
               17         16.    LoL is a fast-paced, highly competitive online game. In LoL, two
               18 five-player teams of powerful “champions,” each with a unique design and
               19 playstyle, battle head-to-head across multiple computer-generated battlefields and
               20 in a variety of game modes and types. LoL blends the speed and intensity of a
               21 “real-time” strategy game with elements of fantasy role-playing and character
               22 development.
               23         17.    One of the defining characteristics of LoL is its roster of playable
               24 champions. LoL currently allows players to choose among more than 150 different
               25 champions. Each of these champions has a unique and distinctive appearance; a
               26 unique set of abilities; and a specific set of animations. Each LoL champion also
               27 has a unique backstory and “lore” developed around that champion. In this way,
  Mitchell     28 LoL champions are more than just archetypes or game pieces; they are fully
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                1 fleshed-out characters, each driven by a different motivation and with a specific
                2 skill set that reflects the character’s background and personality. LoL’s champions
                3 have become so popular and beloved that they have been featured in comic books,
                4 toys, and an animated television series on Netflix. LoL’s champions include, by
                5 way of example:
                6               (a)    Zac, a green, amorphous blob whose life began as a product of
                7 a toxic spill but evolved into a thinking, sentient being. Zac is depicted in LoL
                8 (and related games and merchandise) as a creature with soft green skin, a jagged
                9 mouth and horn-like protrusion from his head.
               10               (b)    Heimerdinger, a diminutive, bearded scientist and inventor
               11 who wears goggles and loves tinkering with his fantastic mechanical inventions.
               12               (c)    Viktor, a scientist whose body is part human and part metal.
               13 He seeks the advancement of humankind by obtaining a greater understanding of
               14 technology.
               15               (d)    Teemo, a furry creature with pointed ears and hat with goggles,
               16 who carries a telescopic-shaped projectile weapon. Teemo scouts the world with
               17 boundless enthusiasm and energy.
               18         18.   Each LoL champion possesses four unique abilities that reflect the
               19 character’s distinctive personality. Each of these abilities (which grow
               20 increasingly powerful as the game progresses) has a unique and distinctive name
               21 and a particular effect on the battlefield. For example, the LoL character “Talon”
               22 has the following abilities: (1) “Noxian Diplomacy,” which causes Talon to leap to
               23 a target and inflict damage; (2) “Rake,” which causes Talon to toss a volley of
               24 blades that damage enemies both when released and upon their return to Talon; (3)
               25 “Assassin’s Path,” which enables Talon to vault over the nearest structure or
               26 terrain; and (4) “Shadow Assault,” which causes Talon to disburse a ring of blades
               27 and become invisible for a short time. Each character ability is represented in the
  Mitchell     28 game by a distinctive and colorful piece of artwork (i.e., an “icon.”)
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                1         19.   Another distinctive element of LoL is that throughout each game, LoL
                2 champions generate currency that may be spent at an in-game shop. At the in-
                3 game shop, LoL players may “purchase” and temporarily acquire a variety of
                4 unique equipment and items, each of which has an original name and identifying
                5 icon, as well as a unique set of defined properties. These in-game items enhance
                6 the statistics and strength of the player’s champion.
                7         20.   Each of the elements described herein, including: (1) each champion’s
                8 appearance, background “lore,” and suite of abilities, (2) the ability icons that
                9 represent each champion’s abilities, and (3) weapon and equipment icons, as well
               10 as the overall selection and arrangement of the foregoing elements, is original,
               11 creative, and constitutes Riot’s protected expression. Each of these elements either
               12 is generated by LoL’s computer code or exists as an art or text file within the LoL
               13 software product.
               14         21.   Riot possesses valid, subsisting, registered copyrights in LoL,
               15 including copyright registration numbers PA 1-906-694, PA 1-397-659, and PA 1-
               16 971-560. The registrations were obtained within five years of first publication, and
               17 thus constitute prima facie evidence of the validity of the copyright and the facts
               18 stated therein.
               19               Defendants and Their Release Of The Infringing Game
               20         22.   Riot is informed and believes, and on that basis alleges, that Imba is a
               21 Vietnam-based video game developer, engaged in the creation and production of
               22 mobile games. Imba is a subsidiary or division of Suga, a Singapore company that
               23 owns and operates several Vietnam-based companies. Imba’s games are largely (if
               24 not entirely) “free-to-play” games. That is, there is no charge to download and
               25 play the game. Instead, Imba generates revenue by selling virtual currency, which
               26 can be used to “unlock” new characters or speed up a player’s progression in the
               27 game.
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                1         23.   Riot is informed and believes, and on that basis alleges, that in or
                2 about mid-2020 Imba began offering to the public a mobile game titled I Am Hero
                3 AFK Tactical Teamfight (i.e., the “Infringing Game”) for Android and Apple iOS
                4 mobile devices. Specifically, Imba made the Android version of the Infringing
                5 Game available for download via the Google Play Store, and the iOS version
                6 available via the Apple App Store, through a dedicated U.S. entity, Imba, LLC.
                7         24.   Riot is informed and believes, and on that basis alleges, that in order
                8 to release and distribute the Infringing Game, Imba and/or Imba, LLC created a
                9 developer account with the Google Play store and the Apple App Store. It then
               10 uploaded a build of the game to Apple and Google servers located in the United
               11 States. After Imba uploaded its build of the Infringing Game to the Google Play
               12 Store or Apple App Store for distribution to the public, Google and Apple
               13 reviewed and tested the Infringing Game as part of its app approval process.
               14         25.   Riot is informed and believes, and on that basis alleges, that before the
               15 Infringing Game was distributed to the public, Imba was presented with a number
               16 of options as to where it wished to make the Infringing Game available. Imba
               17 specifically elected to make the Infringing Game available throughout the world,
               18 knowing that doing so would enable the Infringing Game to be distributed in the
               19 United States. Riot is informed and believes, and on that basis alleges, that the
               20 Infringing Game has been downloaded (i.e., distributed to the public) at least
               21 500,000 times, including by thousands of customers in the United States.
               22         26.   Riot is informed and believes, and on that basis alleges, that prior to
               23 or commensurate with the release of the Infringing Game, Imba engaged in a
               24 significant marketing campaign that was designed to reach customers in the United
               25 States. This marketing campaign included the creation of a dedicated English-
               26 language website (playiamhero.com) (the “Website”), as well as numerous social
               27 media pages and profiles. Specifically, Imba created a dedicated Facebook page, a
  Mitchell     28 regularly-updated Twitter account, a Discord “server,” and Instagram account, and
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                1 a dedicated Reddit bulletin board. Each of these communities is designed to attract
                2 and communicate with its player community, especially players who speak
                3 English.
                4         27.    Imba also created promotional videos for the Infringing Game, which
                5 it shared both on the Google and Apple platforms, as well as on social media
                6 pages. These promotional videos are entirely in English, touting features such as
                7 the player’s ability to “Explore Unique Campaigns” and “Earn Rewards While
                8 AFK.” One such promotional video is depicted below.
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                                               Defendants’ Access To LoL
               19
                          28.    Riot is informed and believes, and on that basis alleges, that at the
               20
                    time Imba created and designed the Infringing Game, it had access to LoL and was
               21
                    aware of its massive popularity. In fact, the company’s name (Imba) is a reference
               22
                    to LoL jargon for a character that is “imbalanced,” i.e. overpowered. It also is the
               23
                    alias of a well-known professional LoL player.
               24
                          29.    Riot is informed and believes, and on that basis alleges, that many (if
               25
                    not most) of Imba’s employees are regular LoL players, and play the game
               26
                    regularly and competitively. Imba even holds its own LoL tournaments (the “Imba
               27
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                1 Cup”) and posts videos and images showing its employees competing in LoL
                2 matches on its social media accounts, including Facebook.
                3               Defendants’ Copying of Protectible Expression From LoL
                4         30.    The Infringing Game is what is known as an “idle” or “AFK” (“away
                5 from keyboard) tactical game. In the Infringing Game, players create a team from
                6 a roster of varying characters and then deploy their team to the battlefield to fight
                7 against computer-controlled or human-controlled opposing teams. As players
                8 progress in the game, they unlock new characters, upgrade existing characters, and
                9 purchase weapons and equipment. The Infringing Game presently contains
               10 approximately forty playable characters.
               11         31.    Riot is informed and believes, and on that basis alleges, that in order
               12 to increase the popularity and appeal of the Infringing Game, Imba, without license
               13 or authorization from Riot, populated its game with knock-off copies of LoL
               14 characters. In so doing, Imba copied from LoL an array of visual, audiovisual, and
               15 textual elements. It did so with full knowledge that its conduct was unlawful and
               16 would provoke a response from Riot, but with the hope and expectation that Riot
               17 would not discover the infringement until after the game developed a large base of
               18 players and online community and turned a profit.
               19         32.    Among the protected expression from LoL that Imba appropriated and
               20 used in the Infringing Game were Riot’s visual depictions of its LoL champions,
               21 the roles and skills for each of champion, artwork used to represent equipment or
               22 other in-game objects, and textual descriptions and stories about LoL champions.
               23 In fact, nearly every one of the heroes in the Infringing Game has a substantially
               24 similar appearance, name, backstory, set of abilities (including ability names and
               25 icons representing abilities) and set of sound effects, as their counterparts in LoL.
               26
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                1            Infringing Elements: Character Names, Design and Artwork
                2         33.    Many, if not all, of the heroes from the Infringing Game are knock-
                3 offs of LoL champions in both name and appearance. The characters themselves
                4 are recognizably the same as LoL champions (e.g., carrying the same accessories,
                5 wearing the same costumes, bearing the same bodily special features such as
                6 wings) and bear nearly identical names. By way of example, below are several
                7 side-by-side comparisons of the actual names and portrait artwork for several LoL
                8 champions and characters from the Infringing Game.2
                9
               10
                         League of Legends Champions               Infringing I Am Hero Characters
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22                Heimerdinger                                Dinger
                        (Wears goggles, large belt, carries      (Wears goggles, large belt, carries
               23       wrench and missiles, pronounced          wrench and missiles, pronounced
               24                 facial hair )                            facial hair)
               25
               26
               27   Each example is annotated to highlight key similarities, but the annotation is not
                    2


  Mitchell     28 theexhaustive
                  an            description of similarities. Additionally, as noted, the illustrations in
                      Complaint are just a small sample of the overall infringement.
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               10
               11                  Nautilus
               12       (Wears machined armor plates,                          Tidus
                       glowing eyes, carries large anchor         (Wears machined armor plates,
               13                  weapon)                       glowing eyes, carries large anchor
               14                                                            weapon)

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               25                                                         Victor
                                     Viktor                  (Wears hooded cape, etched armor
               26      (Wears hooded cape, etched armor cuirass and faulds, carries staff with
               27     cuirass and faulds, carries staff with           ringed top)
                                   ringed top)
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               11
               12                      Vi
                      (Woman with brightly colored hair                           Vy
                      and featuring large mechanical fists        (Woman with brightly colored hair
               13                 and arms)                       and featuring large mechanical fists
                                                                              and arms)
               14
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                                      Zac                                Zak
               26     (Green humanoid creature with soft (Green  humanoid  creature with soft
                        “blob” skin and characteristics, “blob” skin and characteristics, with
               27      with a jagged mouth and horn-like    a jagged mouth  and horn-like
                             protrusion from head)              protrusion from head)
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               12                   Sejuani                               Pigrider
                        (Woman wearing blue horned-            (Woman wearing blue horned-
               13      helmet and blue-accented armor,        helmet and blue-accented armor,
                         riding pig-like creature with          riding pig-like creature with
               14              prominent tusks)                       prominent tusks)
               15
               16
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               26
                                    Talon                                   Tolan
               27      (Wearing hooded V-shaped cape           (Wearing hooded V-shaped cape
                        with diamond-shaped accent on           with diamond-shaped accent on
  Mitchell     28     brow, right-handed sharp weapon)        brow, right-handed sharp weapon)
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               11                   Teemo                                    Tomee
                       (Furry creature with pointed ears,       (Furry creature with pointed ears,
               12     hat with goggles, carrying telescopic    hat with goggles, carrying telescopic
                           shaped shooting weapon)                  shaped shooting weapon)
               13
               14
               15       Infringing Elements: Character Nicknames and Backstory Narratives
               16         34.   The Infringing Game also contains “stories” and nicknames for each
               17 game character. These “stories” and nicknames are nearly identical to, and largely
               18 copy/pasted wholesale from, the unique nicknames and “lore” developed for LoL
               19 champions and displayed as written narratives. By way of example, below are
               20 several side-by-side comparisons of LoL and I Am Hero nicknames and narratives.
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                1        League of Legends Champion           Infringing I Am Hero Character
                             Nicknames and Lore                     Nicknames and Lore
                2
                3
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               12
               13                                                     Dinger Lore
                             Heimerdinger Lore
               14          “The Revered Inventor”               “The Venerable Inventor”

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               26
                                Sejuani Lore                         Pigrider Lore
               27            “Fury of the North”                   “Wrath of the South”
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               12                Talon Lore                            Tolan Lore
                            “The Blade’s Shadow”                   “The Blade’s Shade”
               13
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               25
                                Teemo Lore                            Tomee Lore
               26             “The Swift Scout”                     “The Hasty Scout”
               27
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               12
                             Original Aatrox Lore                      QQtrox Lore
               13            “The Darkin Blade”                      “The God Killer”
               14
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               26                Viktor Lore                           Victor Lore
                            “The Machine Herald”                   “The Evil Machinist”
               27
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               12
                                     Zac Lore                            Zak Lore
               13              “The Secret Weapon”               “The Amorphous Combatant”

               14
               15
               16                 Infringing Elements: Character Gameplay Abilities
               17        35.     The Infringing Game copies not only the names, nicknames, images
               18 and backstories of LoL champions, but also the titles and substance of character
               19 gameplay abilities. By way of example, below are several side-by-side
               20 comparisons of ability titles and descriptions copied from LoL in the Infringing
               21 Game.
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                1        League of Legends Champion            I Am Hero Character Abilities
                                   Abilities
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               12
                        Aatrox’s “Deathbringer Stance”         QQtrox’s “Harbinger Stance”
               13        (Enhances damage inflicted by         (Enhances damage inflicted by
                       Aatrox’s “next basic attack” while       QQtrox’s “next basic attack”
               14       healing Aatrox based on attack         while healing QQtrox based on
                                target’s health)                   attack target’s health)
               15
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               21
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               26
               27         Heimerdinger’s “Upgrade!!!”               Dinger’s “Upgrade!”
                             (Enhances next attack)                (Enhances next attack)
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                        Heimerdinger’s “CH-2 Electron
                              Storm Grenade”                    Dinger’s “Electron Grenade”
               11                                               (Damages target enemy and
                         (Damages target enemy and
                            surrounding enemies)                   surrounding enemies)
               12
               13
               14
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               24
                     Nautilus’s “Riptide”, “Depth Charge”
               25      (“[E]xploding waves” capable of        Tidus’ “Wrath Tides”
                     “knocking” and “stunning” enemies) (“[W]aves of explosions” capable of
               26                                           “knocking” and “stunning”
                                                                     enemies)
               27
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               11               Talon’s “Rake”                      Tolan’s “Shadowblade”
                      (“Sends out a volley of daggers” that     (“Sends out a volley of daggers”
               12     damage enemies “it passes through”;      that damages enemies they “pass
                         weapons return to character)             through”; weapons return to
               13                                                         character)

               14
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               22
                              Talon’s “Blade’s End”
               23      (Enhanced attack “stacking up to 3           Tolan’s “Dagger’s End”
                        times” and causing enemy with “3      (Enhanced attack “stacking up to 3
               24     stacks of Wound” to “bleed for heavy     times” and causing enemy with “3
                                    damage”)                     wounds” to “bleed for 200% …
               25                                                          damage”)
               26
               27
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                             Teemo’s “Toxic Shot”
               10        (Attack “will poison the target,
                        dealing damage” for 4 seconds”)
               11                                                      Tomee’s “Toxic Shot”
                                                                 (Attack “will have a poison effect,
               12                                                dealing … damage” for 3 seconds)

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               22          Vi’s “Cease And Desist”
                      (Character “runs down” an enemy,
               23     “knocking aside anyone in the way”
                      and “knocks” the target into the air)
               24
               25                                                   Vy’s “Assault Suspension”
                                                                 (Character “charges” an enemy,
               26                                                 “knocking aside all enemies …
                                                                 along the way” and “knocks” the
               27                                                            target”)
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                             Viktor’s “Chaos Storm”
               11       (Character “conjures” an electric
                      “field” that damages nearby enemies)
               12                                                 Victor’s “Chaos Storm”
                                                              (Character “summons an electric
               13                                             vortex” that damages enemies in
                                                                            field)
               14
               15
               16
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               23
                            Viktor’s “Gravity Field”
               24       (Gravitational field slows enemies
                            therein and stuns them)               Victor’s “Gravity Field”
               25                                             (Gravitational field traps enemies
                                                                  therein and stuns them)
               26
               27
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               11
                              Zac’s “Cell Division”                   Zak’s “Self-division”
               12      (When killed, character splits into 4   (When “slain,” character splits into
                      sub-parts that each have a percentege       2 sub-parts that each have a
               13       of character health and abilities)     percentage of character attributes)
               14
               15
               16
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               22
                            Zac’s “Let’s Bounce!”
               23     (Character bounces in air, damaging
                             and slowing enemies)
               24
               25
                                                                     Zak’s “Body Shock”
               26                                              (Character “[l]eaps into the air[,]”
                                                               damaging and “stunning” enemies)
               27
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                1                         Infringing Elements: Character Icons
                2         36.    I Am Hero characters also bear substantially similar character and
                3 character ability icons to icons used for LoL champions. By way of example,
                4 below are several side-by-side comparisons of copied icon images.
                5
                                League of Legends Icons                       I Am Hero Icons
                6
                7
                8
                9
                          Nautilus’ Titan’s Wrath Icon                Tidus’ Staggering Blow Icon
               10
               11
               12
               13
                            Zac’s Let’s Bounce! Icon                     Zak’s Self-division Icon
               14
               15
               16                      Imba’s Willful and Intentional Infringement
               17
                          37.    Riot is informed and believes, and on that basis alleges, that all of the
               18
                    foregoing copying was deliberate and intentional and that during the development
               19
                    of the Infringing Game, Imba used LoL artwork as reference material, selected
               20
                    names that were nearly identical to the names of LoL champions, modeled each of
               21
                    its heroes on LoL champions, and “cut-and-pasted” textual material from LoL.
               22
                    Imba did so in order to broaden the appeal of the Infringing Games and entice LoL
               23
                    fans to download and play it.
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                1        38.    Imba’s plan that potential customers would recognize the Infringing
                2 Game’s heroes was successful. Many players commented on the outright copying
                3 of LoL champions in the Infringing Game, such as in the following comments on
                4 the Google Play Store:
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               18        39.    Riot is informed and believes, and on that basis alleges, that Imba
               19 and/or Imba, LLC reviews all or nearly all of the comments the Infringing Game
               20 received on the Google Play Store and Apple App Store, and it responds to many
               21 of them. In response to one such comment pointing out the “disgusting” and
               22 “blatant ripoff of League of Legends characters,” Defendants admitted they copied
               23 LoL. But rather than taking steps to change its game or seek a license from Riot,
               24 Defendants responded: “so what happens if our heroes are some similar (sic) to
               25 LOL heroes?”
               26
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               10         40.   On December 17, 2021, Riot served Imba with a Cease and Desist
               11 Letter, in which it included an extensive but non-exhaustive side-by-side chart of
               12 copied characters and gameplay elements. Imba responded on December 20, 2021,
               13 admitting that some of its game’s content was substantially similar to that of LoL
               14 but denying that it had engaged in copyright infringement.
               15                                       COUNT I
               16                              (Copyright Infringement)
               17         41.   Riot re-alleges and incorporates by reference the allegations in
               18 paragraphs 1 through 40, as if set forth fully herein.
               19       42. Riot is the owner of valid and enforceable copyrights in LoL. Riot
               20 has registered or applied for registration for copyrights in LoL, including PA 1-
               21 906-694, PA 1-397-659 and PA 1-971-560.
               22      43. Defendants have deliberately and intentionally copied the characters,
               23 artwork, and other protectable expression from LoL in the Infringing Game.
               24       44. Riot has never authorized or given consent to Defendants to use their
               25 copyrighted works in the manner complained of herein.
               26       45. Thus, Defendants have infringed, and are continuing to infringe,
               27 Riot’s copyrights by reproducing, adapting, distributing, publicly performing, and
  Mitchell     28 publicly displaying, and authorizing others to reproduce, adapt, distribute, publicly
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                1 perform, and publicly display copyrighted elements of LoL without authorization,
                2 in violation of the Copyright Act, 17 U.S.C. § 501 et seq.
                3         46.   Defendants’ acts of infringement are willful, in disregard of, and with
                4 indifference to, the rights of Riot.
                5         47.   As a direct and proximate result of the infringements alleged herein,
                6 Riot is entitled to damages and to Defendants’ profits in amounts to be proven at
                7 trial, which are not currently ascertainable. Alternatively, Riot is entitled to
                8 maximum statutory damages of $150,000 for each copyright infringed, or in such
                9 other amount as may be proper under 17 U.S.C. § 504(c).
               10         48.   Riot further is entitled to its attorneys’ fees and full costs pursuant to
               11 17 U.S.C. § 505.
               12         49.   As a result of Defendants’ acts and conduct, Riot has sustained and
               13 will continue to sustain substantial, immediate, and irreparable injury for which
               14 there is no adequate remedy at law. Riot is informed and believes, and on that
               15 basis alleges, that unless enjoined and restrained by this Court, Defendants will
               16 continue to infringe Riot’s rights in LoL. Riot is entitled to temporary,
               17 preliminary, and permanent injunctive relief to restrain and enjoin Defendants’
               18 continuing infringing conduct.
               19
               20                                PRAYER FOR RELIEF
               21         WHEREFORE, Riot prays that this Court enter judgment in its favor on
               22 each and every claim for relief set forth above and award it relief, including but not
               23 limited to an order:
               24         1.    Preliminarily and permanently enjoining Defendants, their officers,
               25 employees, agents, subsidiaries, representatives, distributors, dealers, members,
               26 affiliates, and all persons acting in concert or participation with Defendants from:
               27 manufacturing, producing, distributing, adapting, displaying, advertising,
  Mitchell     28 promoting, offering for sale or selling, or performing any materials that are
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                1 substantially similar to LoL, and to deliver to the Court for destruction or other
                2 reasonable disposition all materials and means for producing the same in
                3 Defendants’ possession or control.
                4         2.     Requiring Defendants to deliver to Riot all copies of materials that
                5 infringe or violate any of Riot’s rights described herein.
                6         3.     Requiring Defendants to provide Riot with an accounting of any and
                7 all sales of products or services that infringe or violate any of Riot’s rights, as
                8 described herein.
                9         4.     Awarding Riot actual or statutory damages for copyright infringement
               10 and willful infringement under 17 U.S.C. § 504, as appropriate.
               11         5.     Awarding Riot its full costs and attorneys’ fees in this action pursuant
               12 to 17 U.S.C. § 505 and other applicable laws.
               13         6.     Imposing a constructive trust over the proceeds unjustly obtained by
               14 Defendants through the sale of the Infringing Game in the United States, and/or
               15 any other products or services that violate any of Riot’s rights described herein.
               16         7.     Awarding such other and further relief as this Court may deem just
               17 and appropriate.
               18
               19 DATED: JANUARY 20, 2022                MARC E. MAYER
                                                         MITCHELL SILBERBERG & KNUPP LLP
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               21
               22                                        By: /s/ Marc E. Mayer
                                                              Marc E. Mayer (SBN 190969)
               23                                             Attorneys for Riot Games, Inc.

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                1                                    JURY DEMAND

                2        Riot demands a trial by jury on all issues so triable.
                3
                4 DATED: JANUARY 20, 2022               MARC E. MAYER
                                                        MITCHELL SILBERBERG & KNUPP LLP
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                7                                       By: /s/ Marc E. Mayer
                                                             Marc E. Mayer (SBN 190969)
                8                                            Attorneys for Riot Games, Inc.

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